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                   IN THE CIRCUIT COURT OF THE STATE OF OREGON

                             FOR THE COUNTY OF WASHINGTON

STATE OF OREGON,
                                Plaintiff,                         Case        No. 20CR01720 (DA 383613)
         VS
                                                                   JUDGMENT OF CONVICTION
TRACY LAMPRON CLOUD,                                               AND SENTENCE

                                Defendant.

         This matter came before Judge Eric E. Butterfield on November 16,2021 for sentencing.

The State of Oregon appeared by John Gerhard, Senior Deputy District Attorney and Melanie

Musial, Deputy District Attorney, and the defendant appeared in person, with court appointed

counsel, Jesse Merrithew, the Court having determined the defendant to be indigent.

         It appears to the Court that the defendant has been indicted, arraigned, tried and found guilty

by   jury verdict of the crime of Murder in the      Second Degree with a Firearm (Unclassified Felony,

crime seriousness in unranked, criminal history I) in Count 1. Further, Count 2was dismissed by

the State of Oregon prior to trial.

         It further appears to the Court that more than 48 hours have passed since said verdict was

rendered, and there appears no good cause why sentence should not now be passed.

         It is therefore CONSIDERED, ORDERED AND ADJUDGED by the Court that pursuant to

ORS 163.I 15(5Xa) the defendant shall be committed to the legal and physical custody of the

Corrections Department of the State of Oregon for              life. It is further ORDERED pursuant to ORS

137300 and 163.115(5)(b) that defendant be confined for a minimum of 25 years without


Page   I - ruDGMENT OF CONVICTION AND SENTENCE (20CR01720)

                                         Washington County District Attorney
                                       150 North First Avenue, Room 300, MS#40
                                                 Hillsboro, Oregon 97124
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I    possibility of parole, release on work release or any form of temporary leave or employment at a

2    forest work camp.

J                It is further ORDERED that defendant is not, during the service of the term of

4    imprisonment, eligible for release on post-prison supervision, nor any reduction in, or based on, the

5    minimum sentence for any reason whatsoever under ORS 421 .l2l or any other statute.

6                It is further ORDERED, pursuant to ORS 161.610, that the defendant serve                 a   minimum term

7    of imprisonment of five (5) years. The defendant shall not be eligible for work telease, parole,

8    temporary leave or terminal leave until the minimum term of imprisonment is served, less a period

9    of time equivalent to any reduction of imprisonment granted for good time served or time credits

10   earned under ORS 421 . 121 .

11               Further, it shall be the sentence of the Court that the defendant submit a blood or buccal sample

12   at defendant's own expense, unless defendant lacks the ability to pay, to the Oregon State Police for

13   the purposes of establishing a DNA profile.

I4               Pursuant to defendant's stipulation, defendant relinquishes ownership of the weapons

15   confiscated from defendant, to-wit: Glock 19 CTC (serial #LAH119) and Glock 17 9MM

t6   (serial#LNu010). It is ORDERED that said weapon be released for destruction by the Washington

T7   County Sheriffs Office Police Department. Further, when said weapon is no longer needed                        as


18   evidence, the law enforcement agency shall destroy the weapon within six (6) months of the District

19   Attomey's Office confirmation that all criminal cases and related appeals and collateral relief are

20   resolved and shall provide the Court with a written return indicating the manner in which the

2t   weapon was destroyed, the date, and by whom it was done.

22               It is further ORDERED that payment of                a fine and court appointed attorney fees in this


23   matter are waived.


     Page2   -   ruDGMENT OF CONVICTION AND SENTENCE (20CR01720)


                                                 Washington County District Attorney
                                               150 North First Avenue, Room 300, MS#40
                                                         Ilillsboro, Oregon 97124
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1                   It is further   ORDERED   that defendant is sentenced to pay to the Clerk     of the Court any

2        ﬁnancial obligations in the Money Award section which follows and, in the manner, speciﬁed

         (which section is hereby made a part of this judgment).

4
A
                                                       MONEY AWARD

5                   The State of Oregon is the creditor and the defendant, Tracy Lampron Cloud, is the debtor.

6                       1.   Pay restitution to victim in an amount to be determined at a Restitution Hearing
                             scheduled for February 4, 2022 at 1:00 pm. Further, the defendant waives
7                            appearance at said hearing.

                    All ﬁnancial obligations speciﬁed in the Money Award shall be made payable to the State of

9        Oregon and shall be disbursed through the Clerk of the Court (150 North First Avenue, First Floor,

10       Hillsboro, Oregon 97124) as set forth in ORS 137.146.
                                                            12I2I2021 9:24:35 AM
11


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13


14
                                                                  Circuit Court Judge, Eric Butterfield
15       INTERPRETER
         Court Reporter: FTR
    16   cc: Jesse Alan Merrithew 1 1/ \61 /21
         Control #z JWA8220784393
    17   klk

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                        JUDGMENT OF CONVICTION AND SENTENCE (20CR01720)

                                                    Washington County District Attorney
                                                  150 North First Avenue, Room 300, MS#40
                                                         Hillsboro, Oregon 97124
                                                    Irlv'n ant ﬂt'vl   I'M. Irnﬁx 04/. «and
